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      Equifax, Inc.'s Consent To Removal
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 7
                                         UNITED STATES DISTRICT COURT
 8
                                        EASTERN DISTRICT OF CALIFORNIA
 9
                                                FRESNO DIVISION
10
            SCORPIO PURNELL                                           CASE NO.
11                         Plaintiff,

12                 VS.                                                EQUIFAX, INC.'S CONSENT
                                                                      TO REMOVAL
13          EQUIFAX INC.; EXPERIAN INFOR?MATION
            SOLUTIONS, INC.; and TRANS {JNION;
                           Defendants.
14

15
                   Defendant Equifax, Inc. acknowledges its consent to removal of this action from the
16

17
            Superior Court of California, County of Fresno, to the United States District Court, Eastern

10 ll District of California, Fresno Division.
19
                   Dated: December 19, 2016.
20

21
                                                       Authorized Representative for Equifax, Inc.
22

23
                                                       s/ Tony Love
24
                                                       Tony Love
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27

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            F,QUIFAX, INC.'S CONSENT TO REMOVAL - [CASE NO.]

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